        Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 1 of 40




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 MEGAN JURIC and JUSTINE STUHL, on :
 behalf of themselves and all others :
 similarly situated,                 :              Civil Action No. 2:20-cv-00651-MJH
                                     :
                 Plaintiffs,         :
                                                    Electronically Filed
                                     :
         v.                          :
                                     :
 DICK’S SPORTING GOODS, INC.,        :
                                     :
                 Defendant.


           DECLARATION OF DEBORAH VICTORELLI IN SUPPORT
   OF DEFENDANT’S MOTION TO COMPEL ARBITRATION, STRIKE CONSENT
  TO JOIN FORMS, AND DISMISS CLAIMS OF PURPORTED OPT-IN PLAINTIFFS

I, Deborah Victorelli, declare as follows:

       1.      I am making this Declaration in support of Defendant Dick’s Sporting Goods, Inc.

(“Dick’s”) Motion to Compel Arbitration, Strike Consent to Join Forms, and Dismiss the Claims

filed in the above-captioned matter by Alexis Lissabet, Chad Sell, Connor Donnelly, Dennis

Alvarez, Falon Saint James, Gina Pysola, Heather Jaxx, Hillary Goodliff, Hunter Whitaker, John

Hickey, Joseph Downar, Kenneth S. Kanowitz, Lazaro Fuentes Hernandez, Lindsey Powell,

Lorenzo Moreira, and Steven Everitt (referred to herein as the “Purported Opt-in Plaintiffs”). (ECF

No. 3-1, pp. 2-17.) I am over the age of 18 and am competent to testify. If called as a witness, I

would and could competently testify to the facts set forth in this Declaration based on my personal

knowledge.

       2.      Dick’s is a leading sporting goods retailer with stores throughout the United States.

I am employed by Dick’s as its Vice President of Human Resources. I have been employed by

Dick’s since April 12, 1999, and have substantial experience in administering human resources

management services (“HRMS”) systems generally, as well as Dick’s HRMS system specifically.
         Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 2 of 40




Dick’s HRMS system is a customized version of the PeopleSoft software platform created by

Oracle Corporation. This version of the software, in sum, includes a customized, self-service

employee portal through which Dick’s employees (“Teammates”) access, input, and retrieve key

information about their employment with Dick’s. Dick’s HRMS system is used as Dick’s primary

system for collecting, storing, and using personnel and human resources information related to the

employment of Teammates at Dick’s.

       3.      As part of this functionality, Dick’s HRMS system allows Dick’s human resources

employees to query basic personnel information about Teammates employed at Dick’s retail stores

nationwide. Specifically in relation to this lawsuit, I performed a query to determine the hire date

and position of the Purported Opt-in Plaintiffs. Based on the results of my query, I attest that Dick’s

employed the Purported Opt-in Plaintiffs as follows :

               a.     Lissabet: employed in Buckland Hills, Connecticut from on or about July
                      21, 2014 to October 21, 2018.

               b.     Sell: employed in Portland, Oregon from on or about January 19, 2017 to
                      May 5, 2018.

               c.     Donnelly: employed in Glen Allen, Virginia from on or about September
                      19, 2013 to April 28, 2019.

               d.     Alvarez: employed in Newport News, Virginia from on or about June 7,
                      2006 to May 20, 2018.

               e.     Saint James: employed in Richmond, Virginia from on or about February
                      2, 2010 to February 8, 2019.

               f.     Pysola: employed in Medford, Oregon from on or about November 6, 2015
                      to January 24, 2019.

               g.     Jaxx: employed in Medford, Oregon from on or about July 18, 2016 to June
                      27, 2019.

               h.     Goodliff: employed in Portland, Maine from on or about October 31, 2011
                      to May 1, 2019.



                                                  2
        Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 3 of 40




               i.    Whitaker: employed in Alpharetta, Georgia from on or about February 10,
                     2014 to August 26, 2019.

               j.    Hickey: employed in Deptford, New Jersey from on or about September 26,
                     2013 to August 31, 2018.

               k.    Downar: employed in Chillicothe, Ohio from on or about August 10, 2014
                     to July 10, 2018.

               l.    Kanowitz: employed in Lakewood, Colorado from on or about April 1, 2018
                     to February 27, 2019.

               m.    Fuentes Hernandez: employed in Pembroke Pines, Florida from on or about
                     December 24, 2018 to June 12, 2019.

               n.    Powell: employed in Pembroke Pines, Florida from on or about October 10,
                     2016 to May 25, 2018.

               o.    Moreira: employed in Orlando, Florida from on or about September 27,
                     2012 to May 27, 2018.

               p.    Everitt: employed in Williamsport, Pennsylvania from on or about October
                     10, 2014 to September 29, 2018.

       4.      During their employment, each of the Purported Opt-in Plaintiffs executed one of

two versions of Dick’s Agreement to Arbitrate Claim. A true and correct copy of the first version,

which Dick’s rolled out in around June 2016 to all current employees is attached hereto as Exhibit

A (the “2016 Agreement”). At the time Dick’s rolled out the 2016 Agreement to current

employees, it also provided them with a copy of a memorandum answering common questions

about the Agreement. A true and correct copy of the Memorandum distributed to employees with

the 2016 Agreement is attached hereto as Exhibit B. From June 2016 to September 2018, Dick’s

presented each newly hired employee or “Teammate” with a copy of the 2016 Agreement. A true

and correct copy of the second version of the Agreement, which Dick’s began using in about

September 2018, is attached hereto as Exhibit C (the “2018 Agreement”). Beginning in September

2018 and continuing through the present, Dick’s presents each newly-hired Teammate with a copy



                                                3
        Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 4 of 40




of the 2018 Agreement.

       5.      Regardless of the version signed, the process each Teammate must follow to

execute the Agreement is the same. In addition to being used to collect, store, track, and administer

general personnel and human resources information of various kinds, Dick’s HRMS system is also

used as part of Dick’s personnel management for current Teammates and the onboarding process

for new Teammates. Specifically, Teammates are given access to a computer terminal and are

requested to input certain information into the customized self-service employee portal, described

in Paragraph 2 above, which in turns uploads and stores the information provided by the associate

to Dick’s customized PeopleSoft system.

       6.      As part of the roll out of the 2016 Agreements to current Teammates and the

onboarding process for new Teammates, the Teammate working at the computer terminal is

presented with a software interface containing a series of electronic forms that must be filled out

by the Teammate. A true and correct copy of a screen capture of the introductory page of this

computer interface is attached to this Declaration as Exhibit D. This screen capture, and all those

that follow, are based on an actual employee profile that is being used for demonstrative purposes

in this Declaration. To protect the privacy of the Teammate whose profile is being used, the

Teammate’s name has been artificially blurred. In all other respects, this screen capture and all

those that follow are accurate reflections of what Teammate would see when participating in this

electronic portion of Dick’s onboarding process.

       7.      As reflected in Exhibit D, new Teammates using this software interface proceed

through a number of stages to complete this portion of the onboarding process. For example,

Teammates are asked to complete relevant tax documents and indicate their tax withholding

preferences; they are asked to indicate their preferred method of receiving their pay (e.g., direct



                                                 4
          Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 5 of 40




deposit versus payroll card), and provide applicable information depending on their selection; they

are asked to provide emergency contact information; they are asked to fill out various forms

required by the laws of the state in which they are located; they are asked to review and

acknowledge the employee handbook applicable to their position; and, importantly, they are asked

to review and acknowledge receipt of Dick’s Agreement to Arbitrate Claims.

       8.      One of the ways in which this software system is used is to provide Teammates

with Dick’s Agreement to Arbitrate Claims, to track Teammates’ agreement to and

acknowledgment of the Agreement to Arbitrate Claims, and to track which of Dick’s employees

have chosen to “opt out” of the Agreement to Arbitrate Claims. The software system is also used

by Dick’s human resources staff to maintain, use, and administer Dick’s database of information

related to Teammates’ agreement to and/or decision to opt out of the Agreement to Arbitrate

Claims.

       9.      Specifically, all Teammates in about June to August 2016, and Teammates hired

from about June 2016 to September 2018, were presented with the full text of the 2016 Agreement.

All Teammates hired from about September 2018 to the present were presented with the full text

of the 2018 Agreement. A true and correct copy of a screenshot demonstrating how the text appears

is attached as Exhibit E to this Declaration. When Teammates reach this stage, they have the

option to click a hyperlink and receive a PDF copy of the Agreement to Arbitrate Claims, as

indicated by the hyperlink labelled “Click here for an electronic copy of the Arbitration

Agreement.” Teammates are also specifically allowed to print out a copy of the agreement to take

home with them. In addition, the PDF version accessible through this link is accompanied by the

previously described memorandum and “Questions & Answers” addressing the agreement

specifically and arbitration more generally (Exhibit B to this Declaration).



                                                5
         Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 6 of 40




        10.    Teammates then can review the entire text of the Agreement to Arbitrate Claims in

electronic form (in addition to reviewing it in .PDF or paper form through the hyperlink described

above) by scrolling through the electronic version of the agreement appearing on the computer

interface.

        11.    After a Teammate has reviewed the Agreement to Arbitrate Claims, they are not

allowed to proceed further until they affirmatively acknowledge receiving and agreeing to the

terms of the Agreement to Arbitrate Claims by selecting a check box labeled “Arbitration

Agreement Acknowledgment.” A true and correct copy of the screen capture of this page is

attached as Exhibit F to this Declaration. Until this check box is selected, the buttons for

submitting the acknowledgment and selecting “Next” in order to proceed on to the stage section

remain gray, and cannot be selected. Upon checking the box labelled “Arbitration Agreement

Acknowledgment,” the button labelled “Submit Acknowledgment” becomes active. When

Teammates then click this button, the software interface registers the date and time of the

acknowledgment on the screen itself, and also sends that information to Dick’s employee records

stored in the PeopleSoft program. At this point, the “Next” button becomes active, and the

Teammate can proceed to the final stage of the electronic onboarding process. These functions are

highlighted in Exhibit F through red box outlines and a red arrow.

        12.    Purported Opt-in Plaintiffs Lissabet, Alvarez, Pysola, Goodliff, Whitaker, Hickey,

Downar, Moreira, Everitt, Donnelly, and Saint James were all employed with Dick’s when it rolled

out the 2016 Agreement. Based on an inquiry I made to Dick’s HRMS system described in

Paragraph 3, above, Lissabet agreed to and acknowledged the 2016 Agreement at approximately

9:06 a.m. on July 7, 2016, Alvarez at approximately 10:05 a.m. on July 28, 2016; Pysola at

approximately 12:53 p.m on June 19, 2016; Goodliff at approximately 2:40 p.m. on July 11, 2016;



                                                6
        Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 7 of 40




Whitaker at approximately 4:54 p.m. on July 8, 2016; Hickey at 10:58 a.m. on August 1, 2016;

Downar at approximately 9:05 a.m. on July 14, 2016; Moreira at 2:34 p.m. on June 24, 2016;

Everitt at approximately 9:19 a.m. on June 22, 2016; Donnelly at approximately 7:51 a.m. on July

5, 2016; and Saint James at approximately 4:59 p.m. on July 21, 2016. A true and correct copy of

the output of these queries are attached to this declaration as Exhibit G.

       13.      Purported Opt-in Plaintiffs Sell, Jaxx, Kanowitz, and Powell were presented with

the 2016 Agreement as part of their onboarding process when they were hired. Based on an inquiry

I made to Dick’s HRMS system described in Paragraph 3, above, Sell agreed to and acknowledged

the 2016 Agreement at approximately 11:59 a.m. on January 20, 2017; Jaxx at 11:14 a.m. on July

21, 2016; Kanowitz at 11:57 a.m. on April 2, 2018; and Powel at 10:04 a.m. on October 17, 2016.

A true and correct copy of the output of these queries are attached to this declaration as Exhibit

G.

       14.      Purported Opt-in Plaintiff Fuentes-Hernandez was presented with the 2018

Agreement when he was hired. Based on an inquiry I made to Dick’s HRMS system, Fuentes-

Hernandez agreed to and acknowledged the 2018 Agreement at approximately 12:28 pm on

January 6, 2019. A true and correct copy of the output of this query is attached to this declaration

as Exhibit G.

       15.      As indicated in the Agreement to Arbitrate Claims, Dick’s teammates are permitted

to opt out of the Agreement to Arbitrate Claims without suffering any negative repercussions of

any kind for doing so. The agreement itself sets forth the procedures for opting out. See Exhibits

A-C. Dick’s keeps detailed and accurate records of which employees have acknowledged and

agreed to the agreement, as well as those who have opted out of it.

       16.      Specifically, if Dick’s HR Solutions Department receives an opt-out email or letter



                                                 7
        Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 8 of 40




from an associate per the terms of the Agreement to Arbitrate Claims, a .PDF file of the letter or

email is promptly created and is then uploaded into Image Now, a document repository system

integrated with PeopleSoft with PeopleSoft. This image is then linked to the profile in PeopleSoft

of the employee who elected to opt out of the Agreement to Arbitrate Claims. This document is,

in turn, directly accessible to Dick’s human resources staff.

       17.     In addition, Dick’s human resources personnel can query PeopleSoft, which will

produce a report (according to the query parameters) containing the identity of employees who

have opted out of the agreement, the date their opt-out communication was received, and whether

they acknowledged the Agreement to Arbitrate Claims prior to opting out.

       18.     On January 16, 2020, I ran a query for all associates who have opted out of Dick’s

Agreement to Arbitrate Claims since Dick’s Arbitration Program was instituted. While Plaintiffs

Megan Juric and Justine Stuhl appear in PeopleSoft’s response to this query (and thus are

confirmed to have opted out of the Arbitration Agreement), none of the Purported Opt-in Plaintiffs

appear in PeopleSoft’s response to this query. Moreover, each Purported Opt-in Plaintiffs’

employee profile in PeopleSoft indicates the individual acknowledged and agreed to the

Agreement to Arbitrate Claims, pursuant to the process discussed above, but did not send Dick’s

any email, letter or other communication requesting to opt out of Dick’s Arbitration Program.

       19.     Dick’s opt-out procedure set forth in the Agreement to Arbitrate Claims is not just

a theoretical right. As of the date of this Declaration, more than 950 Dick’s employees have elected

to opt out of Dick’s Arbitration Program, all without suffering any negative repercussions of any

kind for doing so.

       I declare under penalty of perjury of the laws of the Commonwealth of Pennsylvania and

of the United States that the foregoing is true and correct.



                                                  8
Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 9 of 40
Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 10 of 40




                EXHIBIT A
           Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 11 of 40




                             AGREEMENT TO ARBITRATE CLAIMS



This Agreement to Arbitrate Claims (this "Agreement") is entered into between the undersigned
employee ("Employee") and Dick’s Sporting Goods, Inc. and its affiliates and subsidiaries (together,
the "Company" or “Employer”) under an Arbitration Program instituted by the Company (the
“Arbitration Program”), and becomes binding on Employee and Employer as provided below. Under
this Agreement, any and all disputes, claims or controversies arising out of the employment
relationship between the parties or the termination of that relationship shall be resolved by final and
binding arbitration. This mutual Agreement covers any claims that the Company may have against
Employee, or that Employee may have against the Company or against any of its officers, directors,
employees, or agents. The Agreement applies to Employee if Employee continues to work for
Employer after receiving a copy of this Agreement, unless the Employee “opts out” as described
below.

The claims covered by this Agreement, and subject to arbitration, include, but are not limited to all
past, present and future claims, for wrongful termination; employment discrimination; breach of any
contract or covenant, express or implied; breach of any duty owed to Employee by Company or to
Company by Employee; personal, physical or emotional injury; fraud, misrepresentation, defamation,
and any other tort claims; claims for back wages or other compensation; penalties; benefits;
reimbursement of expenses; discrimination, retaliation, or harassment; violation of any federal, state or
other governmental constitution, statute, ordinance or regulation (as originally enacted and as
amended). This Agreement shall not apply to any dispute if an agreement to arbitrate such dispute is
prohibited by law. Nothing in this Agreement shall prevent Employee from filing a charge or
complaint with, or participating in, an investigation or proceeding conducted by the Equal
Employment Opportunity Commission ("EEOC"), the National Labor Relations Board ("NLRB") or
any other federal, state or local agency charged with the enforcement of any employment or labor laws.
This Agreement does not apply to workers' compensation claims or unemployment compensation
claims.

In arbitration, each side in the dispute presents its case, including evidence, to a neutral third party
called an "arbitrator," rather than to a judge or jury. By entering into this Agreement, therefore, the
parties are waiving their respective rights to a jury trial. In arbitration, the parties are entitled to be
represented by their own legal counsel. After reviewing the evidence and considering the arguments of
the parties, the arbitrator makes a decision (award) to resolve the dispute. The arbitrator's decision is
final and binding and the right of either side to appeal is much more limited than in a court action.
Arbitration normally is more informal, speedier, and less expensive than a lawsuit.

Any arbitration under this Agreement shall be conducted before a single arbitrator selected by the
parties and shall be conducted under the American Arbitration Association Employment Arbitration
Rules & Mediation Procedures ("AAA Rules") then in effect. Employee may obtain a copy of the
current applicable AAA Rules by accessing the AAA website at www.adr.org and/or upon a written,
signed request to the Company's Senior Vice President of Human Resources attached to an e-mail at
HRSolutions@dcsg.com and/or by certified mail to Dick's Sporting Goods, Inc. 345 Court Street,
Coraopolis, PA 15108, Attn: Senior Vice President of Human Resources. Employee acknowledges
that, to the extent the employee seeks to review the AAA Rules, he/she has that opportunity to do so.



                                                -1-
           Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 12 of 40




The arbitration shall take place within 50 miles of the city in which Employee is or was last employed
by the Company. Other than $200 of any initial filing fee that the Employee must pay to initiate the
action with AAA, the Employer will pay all forum costs, including any further filing fees, arbitrator
fees, or administrative fees. Except as set forth below, each party shall be responsible for its own
attorneys' fees.

The arbitrator shall have the authority to order such discovery as the arbitrator considers necessary to a
full and fair exploration of the issues in dispute, consistent with the expedited nature of arbitration.
The arbitrator is authorized to award any remedy or relief available under applicable law that would
have been available to the parties had the matter been heard in a court.

The arbitrator shall have the authority to award attorney's fees and costs if and to the extent a court
would be authorized to make such an award under applicable law. The decision of the arbitrator shall
be in writing and shall provide the reasons for the award. This Agreement is enforceable under and
subject to the Federal Arbitration Act, 9 U.S.C. Sec 1 (the "FAA").

In the event a court determines in a particular case that this Agreement is lacking an employee
protection required by statute, court decision, or public policy, to avoid a finding that the Agreement is
unconscionable, Employer shall be entitled at its discretion to offer Employee the protection the court
deems necessary to preserve the enforceability of this Agreement in that particular case.

The Company reserves its right to amend or modify this Agreement at any time provided that it gives
Employee thirty (30) days written notice of the same. Notwithstanding any provision in this
Agreement to the contrary, if the Company provides such notice, the Employee may reject such a
change by sending written notice of the rejection to the Company's Senior Vice President of Human
Resources attached to an e-mail and/or by certified mail to Dick's Sporting Goods, Inc. 345 Court
Street, Coraopolis, PA 15108, Attn: Senior Vice President of Human Resources within 30 days of the
issuance of the notice. By rejecting any such change, the Employee will agree that the Arbitration
agreement in effect with the Employee immediately before the proposed change, if any, will apply to
that Employee.

The parties agree that there is good and valuable consideration for the execution of the Agreement,
including but not limited to, Employee’s continued employment with Employer, the requirement that
the agreement to arbitrate all claims is mutual between the parties, and other good and valuable
consideration.

Except as expressly indicated below, in the event that any provision of this Agreement is held to be
void, null or unenforceable, the remaining portions will remain in full force and effect.

UNDER THE ARBITRATION PROGRAM, THE PARTIES WAIVE THEIR RIGHT TO
HAVE ANY DISPUTE, CLAIM OR CONTROVERSY DECIDED BY A JUDGE OR JURY IN
A COURT.

UNDER THE ARBITRATION PROGRAM, THE PARTIES MAY BRING CLAIMS AGAINST
THE OTHER ONLY IN AN INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR
CLASS MEMBER IN ANY PURPORTED CLASS, REPRESENTATIVE, OR GROUP
ACTION AND THE PARTIES WAIVE THEIR RIGHT TO PARTICIPATE IN ANY SUCH
CLASS, REPRESENTATIVE OR GROUP ACTION. AN ARBITRATOR WILL HAVE NO


                                                -2-
          Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 13 of 40




AUTHORITY TO HEAR DISPUTES ON A CLASS, REPRESENTATIVE OR GROUP BASIS
OR TO INTERPRET THIS AGREEMENT AS ALLOWING FOR CLASS,
REPRESENTATIVE, OR GROUP ACTIONS.

IF EITHER PARTY INITIATES OR JOINS IN A LAWSUIT OR ARBITRATION AGAINST
THE OTHER PARTY IN VIOLATION OF THIS AGREEMENT AND A COURT OR
ARBITRATOR DEEMS THIS AGREEMENT OR ANY WAIVER IN THIS AGREEMENT TO
BE UNENFORCEABLE FOR ANY REASON, THEN TO THE EXTENT THE WAIVER IS
INVALIDATED, CLAIMS SUBJECT TO THE INVALIDATED WAIVER SHALL NO
LONGER BE SUBJECT TO ARBITRATION, BUT SHALL INSTEAD PROCEED IN COURT,
WITH ALL REMAINING CLAIMS REMAINING SUBJECT TO ARBITRATION. IN THAT
EVENT, THE ARBITRATION CLAIMS SHALL PROCEED FIRST WITH THE COURT
CLAIMS STAYED UNTIL THE RESOLUTION OF THE ARBITRATED CLAIMS.

If Employee has any questions about this Agreement, Employee may wish to consult an attorney about
the pros and cons of this Agreement before making a decision whether to opt out of the arbitration
program as discussed below.

EMPLOYEE OPT-OUT RIGHTS: EMPLOYEE HAS THIRTY (30) DAYS AFTER RECEIVING
THIS AGREEMENT TO OPT OUT OF ARBITRATION. IF EMPLOYEE OPTS OUT, THEN
NEITHER THE COMPANY NOR THE EMPLOYEE WILL BE BOUND BY THE TERMS OF THIS
AGREEMENT. TO OPT OUT EMPLOYEE MUST: (1) NOTIFY THE COMPANY IN WRITING
THAT EMPLOYEE IS OPTING OUT, (2) SIGN THE WRITING; AND (3) SEND THE SIGNED
WRITTEN NOTICE TO THE COMPANY'S SENIOR VICE PRESIDENT OF HUMAN
RESOURCES ATTACHED TO AN E-MAIL AT HRSolutions@dcsg.com AND/OR BY CERTIFIED
MAIL TO DICK'S SPORTING GOODS, INC., 345 COURT STREET, CORAOPOLIS, PA, 15108,
ATTN SENIOR VICE PRESIDENT OF HUMAN RESOURCES SO THAT THE SENIOR VICE
PRESIDENT OF HUMAN RESOURCES RECEIVES IT NO LATER THAN THIRTY (30) DAYS
AFTER THE DATE EMPLOYEE RECEIVED THIS AGREEMENT. SUCH WRITTEN NOTICE
MAY SIMPLY STATE, "I WISH TO OPT OUT OF THE ARBITRATION PROGRAM" OR
WORDS TO THAT EFFECT. IF NO SUCH NOTICE IS DELIVERED BEFORE THE THIRTY-
DAY DEADLINE, THEN THIS AGREEMENT WILL BECOME FULLY EFFECTIVE AND
BINDING UPON THE DATE BELOW. IF EMPLOYEE OPTS OUT, THE DECISION TO DO SO
WILL NOT ADVERSELY AFFECT EMPLOYEE’S EMPLOYMENT IN ANY WAY.

I ACKNOWLEDGE THAT I HAVE REVIEWED THIS AGREEMENT AND THAT I
UNDERSTAND THAT I HAVE THIRTY (30) DAYS TO OPT OUT OF ARBITRATION IF I
DO NOT WISH THIS AGREEMENT TO APPLY TO ME. THIS ACKNOWLEDGMENT OF
RECEIPT MAY BE SIGNED ELECTRONICALLY.

Acknowledgment of Receipt:

Dated:                      , 2016         By:
                                                 EMPLOYEE




                                            -3-
Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 14 of 40




                           DICK'S SPORTING GOODS, INC.


                           By: Deborah Victorelli

                           Its: Senior Vice President of Human Resources




                            -4-
Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 15 of 40




                EXHIBIT B
                   Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 16 of 40



TO:                All Associates
FROM:              Deborah Victorelli, Senior Vice President of Human Resources
DATE:              June 13, 2016
SUBJECT:           Arbitration Agreement

Attached is a copy of our Arbitration Agreement (the “Agreement”).

In the rare case when disputes arise between Dick’s and its Associates, this Agreement provides both parties
with an expedient alternative to costly and time-consuming litigation. In arbitration, claims are heard by a
neutral third-party called an arbitrator. The parties are entitled to have their own attorneys represent them at the
arbitration. Some of the benefits of arbitration are that it is generally a faster way of resolving disputes and less
expensive for both sides. Arbitrations often provide a much greater level of privacy for both parties. Other than
the Associate paying $200 towards an initial filing fee if the Associate initiates arbitration, Dick’s will pay all
administrative and/or filing fees pertaining to the arbitration and the arbitrator’s fees.

It is important to note that by signing this Agreement, you are not giving up all of your rights as an Associate,
but only agreeing that both you and Dick’s will waive rights to have disputes heard by a judge or jury in the
court system. You also waive your right to file or participate in a class or collective action, and to the extent
allowed by law, a representative action. However, you can still file claims against Dick’s individually in
arbitration.

Under this Agreement, the arbitrator would follow the American Arbitration Association (AAA) Employment
Arbitration Rules & Procedures, and be entitled to award relief that is similar to the relief available in court. A
copy of the AAA rules can be accessed online at: www.adr.org and/or upon written request to the Senior Vice
President of Dick’s by email at HRSolutions@dcsg.com and/or by certified mail at Dick's Sporting Goods, Inc.
345 Court Street, Coraopolis, Pennsylvania 15108, Attn: Senior Vice President of Human Resources.

Below is a list of Questions & Answers about the Agreement. If you have any other questions, please contact
HR Solutions by email at HRSolutions@dcsg.com.

While we ask that all Associates sign the Agreement, Associates may still choose to “opt out” of the Agreement
and the arbitration process within 30 days of signing the Agreement. Of course, there will be no retaliation
against any Associate who asks to review the AAA Rules, who asks questions about this process, and/or opts
out of the Agreement after signing it.

                                               Questions & Answers

What is this document? It is an Arbitration Agreement (the “Agreement”).

What is arbitration? It is a legal process where the parties agree that any disputes between the parties that
cannot be resolved informally must be resolved by a neutral third party called an arbitrator, instead of before a
judge or jury in court. The parties are entitled to be represented by their own legal counsel at the
arbitration. After reviewing the evidence and considering the arguments of the parties, the arbitrator makes a
written decision to resolve the dispute. There will be no trial by a judge or jury, and no appeal of the arbitrator's
decision, except as provided by law.

Why is Dick’s using Arbitration Agreements? Dick’s believes that resolving disputes through mutual
arbitration instead of civil litigation in court benefits both parties. Arbitration is typically faster and less
expensive than civil litigation in court for both parties.

SMRH:475478522.1                                       -1 of 2-
             Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 17 of 40
Who will run the arbitration? A company called AAA, whose website is at www.adr.org. You can obtain the
AAA Rules from that website, or upon written request to the Senior Vice President of Dick’s by email at
HRSolutions@dcsg.com and/or certified mail. There will be no retaliation against you if request a copy of the
AAA Rules.

Who pays the cost of arbitration? Other than the Associate paying $200 towards an initial filing fee if the
Associate initiates arbitration, Dick’s will pay the arbitrator’s fees and any other administrative fees unique to
arbitration.

Can I still receive a similar award in arbitration that I would receive in court action? An arbitrator is
entitled to award relief that is similar to the relief available to you in court.

What claims are not covered by the Agreement? The Agreement only covers claims that can be arbitrated
under the law. For example, workers compensation claims are not subject to arbitration, so they are not covered
by this Agreement.

Who has been asked to sign the Agreement? All current Associates, as well as all new Associates.

What happens if I change my mind after signing the Agreement? You have 30 calendar days after signing
this Agreement to opt out of arbitration.

What happens if I opt out of the Agreement? If you opt out, then neither you nor Dick’s will be bound by the
terms of this Agreement or the arbitration process. But if you opt out, you will not receive any of the many
benefits of arbitration. There will be no retaliation against you if you decide to opt out of the Agreement and the
arbitration process.

Do I give up all of my rights to file claims against Dick’s under the arbitration process in the Agreement?
No. You are not giving up all of your rights, but only agreeing that both you and Dick’s will give up the right to
have disputes heard by a judge and/or jury in court. You also give up your right to file or participate in a class or
collective action, and to the extent allowed by law, a representative action. However, you can still file any
individual claims against Dick’s in arbitration.

What if I have any additional questions? You may contact HR Solutions by email at
HRSolutions@dcsg.com.




SMRH:475478522.1                                      -2 of 2-
Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 18 of 40




                EXHIBIT C
             Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 19 of 40



                                 AGREEMENT TO ARBITRATE CLAIMS

This Agreement to Arbitrate Claims (this “Agreement”) is entered into between the undersigned employee
(“Employee”) and Dick’s Sporting Goods, Inc. and any entity that controls, is under common control with
or is controlled by Dick’s Sporting Goods, Inc., which includes without limitation Golf Galaxy, LLC
(together, the “Company” or “Employer”) under an arbitration program instituted by the Company
(“Arbitration Program”). This Agreement is governed by the Federal Arbitration Act, and evidences a
transaction involving commerce. Under this Agreement, any and all disputes, claims or controversies
arising out of Employee’s application for employment, the employment relationship between the parties, or
the termination of that relationship, shall be resolved by final and binding arbitration and not by way of
court or jury trial. The mutual promises to arbitrate claims provides consideration for this Agreement.
This mutual Agreement covers any claims that the Company may have against Employee, or that Employee
may have against the Company or against any of its officers, directors, employees, or agents (all of whom
may enforce this Agreement). The Agreement applies to Employee if Employee continues to work for
Employer after receiving a copy of this Agreement, unless the Employee “opts out” as described below.

Except as otherwise provided in this Agreement, the claims covered by this Agreement (“Covered
Disputes”), and subject to arbitration, include, but are not limited to, all past, present and future claims for:
wrongful termination; employment discrimination; breach of any contract or covenant, express or implied;
breach of any duty owed to Employee by Company or to Company by Employee; personal, physical or
emotional injury; fraud, misrepresentation, defamation, and any other tort claims; claims for minimum
wage, overtime, back wages, meal and rest periods, or other compensation; penalties; benefits;
reimbursement of expenses; discrimination, retaliation, or harassment; and claims arising under the Defend
Trade Secrets Act, Fair Credit Reporting Act, Civil Rights Act of 1964, Americans With Disabilities Act,
Age Discrimination in Employment Act, Family Medical Leave Act, Fair Labor Standards Act, Employee
Retirement Income Security Act (except for claims for employee benefits under any benefit plan sponsored
by the Company and (a) covered by the Employee Retirement Income Security Act of 1974 or (b) funded
by insurance), Affordable Care Act, Genetic Information Non-Discrimination Act, Uniformed Services
Employment and Reemployment Rights Act, Worker Adjustment and Retraining Notification Act, Older
Workers Benefits Protection Act of 1990, Occupational Safety and Health Act, Consolidated Omnibus
Budget Reconciliation Act of 1985, state and local statutes or regulations addressing the same or similar
subject matters; and violation of any federal, state or other governmental constitution, statute, ordinance or
regulation (as originally enacted and as amended). Additionally, the arbitrator, and not any federal, state,
or local court or agency, shall have exclusive authority to resolve any dispute relating to the validity,
applicability, enforceability, or alleged waiver of this Agreement including, but not limited to any claim
that all or any part of this Agreement is void or voidable. However, as stated below, the preceding sentence
does not apply to the Class Action Waiver.

This Agreement does not apply to claims for worker’s compensation benefits, state disability insurance or
unemployment insurance benefits; however, it does apply to discrimination or retaliation claims based upon
seeking such benefits. This Agreement does not apply to any claim that may not be subject to pre-dispute
arbitration agreement as provided by the Dodd-Frank Wall Street Reform and Consumer Protection Act or
that an applicable federal statute expressly states cannot be arbitrated or subject to a pre-dispute arbitration
agreement. This Agreement does not apply to representative actions for civil penalties filed under the
California Private Attorney General Act (“PAGA”) (but to the extent provided by applicable law, any claim
by Employee on Employee’s behalf under PAGA to recover Employee’s unpaid wages must be arbitrated
and is covered by this Agreement ).

Nothing in this Agreement prevents the making of a report to or filing a claim or charge with a government
agency, including without limitation the Equal Employment Opportunity Commission, U.S. Department of

Agreement to Arbitrate Claims                                                              Page 1 of 4
             Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 20 of 40



Labor, Securities and Exchange Commission, Occupational Safety and Health Administration, National
Labor Relations Board, or Office of Federal Contract Compliance Programs. Nothing in this Agreement
prevents the investigation by a government agency of any report, claim or charge otherwise covered by this
Agreement. This Agreement also does not prevent federal administrative agencies from adjudicating claims
and awarding remedies based on those claims, even if the claims would otherwise be covered by this
Agreement. Nothing in this Agreement prevents or excuses a party from satisfying any conditions
precedent and/or exhausting administrative remedies under applicable law before bringing a claim in
arbitration.

In arbitration, each side in the dispute presents its case, including evidence, to a neutral third party called
an “arbitrator,” rather than to a judge or jury. By entering into this Agreement, therefore, the parties are
waiving their respective rights to a judge or jury trial. In arbitration, the parties are entitled to be represented
by their own legal counsel. After reviewing the evidence and considering the arguments of the parties, the
arbitrator makes a decision (award) to resolve the dispute. The arbitrator’s decision is final and binding
and the right of either side to appeal is much more limited than in a court action.

Any arbitration under this Agreement shall be conducted before a single arbitrator selected by the parties
and, except as provided in this Agreement, shall be conducted under the American Arbitration Association
Employment Arbitration Rules (“AAA Rules”) then in effect (the AAA Rules are available via the internet
at www.adr.org/employment, or by using a service such as www.google.com to search for “AAA
Employment Arbitration Rules” and/or upon a written, signed request to the Company’s Chief Human
Resources Officer attached to an email to HRSolutions@dcsg.com); however, if there is a conflict between
the AAA Rules and this Agreement, this Agreement shall control. Employee acknowledges that, to the
extent the Employee seeks to review the AAA Rules, he/she has had the opportunity to do so. The parties
will select an arbitrator (who must be a former judge from any jurisdiction or an attorney licensed in the
state where the arbitration will take place) through the AAA selection process; however, if the parties fail
to agree on any of the persons provided by AAA, or if acceptable arbitrators are unable to act, or if for any
other reason the appointment cannot be made from the first list submitted by the AAA, the AAA shall issue
a new list of nine (9) arbitrators from which the parties will strike alternately by telephone conference
administered by the AAA, with the party to strike first to be determined by a coin toss conducted by the
AAA, until only one name remains. That person will be designated as the arbitrator. The AAA is without
authority to unilaterally appoint an arbitrator.

The arbitration shall take place within 50 miles of the city in which Employee is or was last employed by
the Company, unless the parties mutually agree otherwise. Other than $200 of any initial filing fee that the
Employee must pay to initiate the action with AAA, the Employer will pay the fees and costs of the AAA
and arbitrator, including any further filing fees, arbitrator fees, or administrative fees. Except as set forth
below, each party shall be responsible for its own attorneys’ fees.

The arbitrator shall have the authority to order such discovery as the arbitrator considers necessary to a full
and fair exploration of the issues in dispute, consistent with the expedited nature of arbitration. The
arbitrator is authorized to award any remedy or relief available under applicable law that would have been
available to the parties in their individual capacity had the matter been heard in a court. The arbitrator shall
apply the substantive federal, state, or local law applicable to the claims asserted. Either party may file
dispositive motions, including without limitation a motion to dismiss and/or a motion for summary
judgment, and the arbitrator will apply the standards governing such motions under the Federal Rules of
Civil Procedure.




Agreement to Arbitrate Claims                                                                Page 2 of 4
            Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 21 of 40



The arbitrator shall have the authority to award attorneys’ fees and costs if and to the extent a court would
be authorized to make such an award under applicable law. The decision of the arbitrator shall be in writing
and shall provide the reasons for the award.

The Company and Employee agree that the party initiating the claim must make a written demand for
arbitration of the claim to the other party no later than the expiration of the statute of limitations (deadline
for filing) that the law prescribes for the claim. Written demand for arbitration to the Company must be
sent to: Dick’s Sporting Goods, Inc. 345 Court Street, Coraopolis, PA 15108, Attn: Chief Human Resources
Officer with a copy to Dick’s Sporting Goods, Inc. 345 Court Street, Coraopolis, PA 15108, Attn: Legal
Department. Employee will be given notice of any demand for arbitration by the Company at the last home
address Employee provided to the Company. The arbitrator will resolve all disputes regarding the
timeliness or propriety of the demand for arbitration.

“CLASS ACTION WAIVER”: THE PARTIES AGREE THAT THE PARTIES MAY BRING
CLAIMS AGAINST THE OTHER ONLY IN AN INDIVIDUAL CAPACITY, AND NOT AS A
PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS OR COLLECTIVE ACTION
AND THE PARTIES WAIVE THEIR RIGHT TO PARTICIPATE IN ANY SUCH CLASS AND/OR
COLLECTIVE ACTION. THE ARBITRATOR WILL HAVE NO AUTHORITY TO HEAR OR
PRESIDE OVER DISPUTES ON A CLASS AND/OR COLLECTIVE BASIS. This Class Action
Waiver will be severable from this Agreement in any case in which there is a final judicial determination
that the Class Action Waiver is invalid, unenforceable, unconscionable, void, or voidable. In such case, the
class and/or collective action must be litigated in a civil court of competent jurisdiction, not in arbitration.
Regardless of anything else in this Agreement and/or the AAA Rules and/or modifications to the AAA
rules, any claim pertaining to the Class Action Waiver, including, but not limited to, any claim that all or
part of the Class Action Waiver is invalid, unenforceable, unconscionable, void, or voidable, may be
determined only by a court of competent jurisdiction and not by an arbitrator.

This is the complete agreement of the parties about arbitration of Covered Disputes. Any contractual
disclaimers the Company has in any handbooks, other agreements, or policies do not apply to this
Agreement. Unless this Agreement is deemed void, unenforceable or invalid in its entirety, this Agreement
supersedes any prior agreements to arbitrate. Except as expressly indicated below, in the event that any
provision of this Agreement is held to be void, null or unenforceable, the remaining portions will remain in
full force and effect. This Agreement will survive the termination of Employee’s employment and the
expiration of any benefit.

If Employee has any questions about this Agreement, Employee may wish to consult an attorney about this
Agreement before making a decision whether to opt out of the Arbitration Program as discussed below and
Employee acknowledges that Employee has availed him or herself of that opportunity to the extent
Employee wishes to do so.

EMPLOYEE OPT-OUT RIGHT: EMPLOYEE HAS THIRTY (30) DAYS AFTER RECEIVING THIS
AGREEMENT TO OPT OUT OF ARBITRATION. EMPLOYEE’S DECISION TO OPT-OUT OR NOT
OPT-OUT OF THIS AGREEMENT IS COMPLETELY VOLUNTARY. IF EMPLOYEE OPTS OUT,
THEN NEITHER THE COMPANY NOR THE EMPLOYEE WILL BE BOUND BY THE TERMS OF
THIS AGREEMENT. TO OPT OUT EMPLOYEE MUST: (1) NOTIFY THE COMPANY IN WRITING
THAT EMPLOYEE IS OPTING OUT, (2) SIGN THE WRITING; AND (3) SEND THE SIGNED
WRITTEN NOTICE TO THE COMPANY'S CHIEF HUMAN RESOURCES OFFICER ATTACHED TO
AN EMAIL AT HRSolutions@dcsg.com AND/OR BY CERTIFIED MAIL TO DICK’S SPORTING
GOODS, INC., 345 COURT STREET, CORAOPOLIS, PA, 15108, ATTN CHIEF HUMAN
RESOURCES OFFICER SO THAT THE CHIEF HUMAN RESOURCES OFFICER RECEIVES IT NO

Agreement to Arbitrate Claims                                                             Page 3 of 4
           Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 22 of 40



LATER THAN THIRTY (30) DAYS AFTER THE DATE EMPLOYEE RECEIVED THIS
AGREEMENT. SUCH WRITTEN NOTICE MAY SIMPLY STATE, “I WISH TO OPT OUT OF THE
ARBITRATION PROGRAM” OR WORDS TO THAT EFFECT. IF NO SUCH NOTICE IS
DELIVERED BEFORE THE THIRTY-DAY DEADLINE, THEN THIS AGREEMENT IS FULLY
EFFECTIVE AND BINDING ON THE DATE BELOW. IF EMPLOYEE OPTS OUT, THE DECISION
TO DO SO WILL NOT ADVERSELY AFFECT EMPLOYEE’S EMPLOYMENT IN ANY WAY.

UNLESS I OPT-OUT OF THIS AGREEMENT IN ACCORDANCE WITH THE “EMPLOYEE
OPT-OUT RIGHT” SECTION ABOVE, I ACKNOWLEDGE THAT I HAVE RECEIVED AND
REVIEWED THIS AGREEMENT AND THAT BY SIGNING BELOW OR ELECTRONICALLY
ACCEPTING/AGREEING OR ELECTRONICALLY SIGNING THIS AGREEMENT, I AM
AGREEING TO ARBITRATE COVERED CLAIMS UNDER THE TERMS OF THIS
AGREEMENT, WHICH BINDS EMPLOYEE AND THE COMPANY.

AGREED:

 Dated:                         , ______   By:
                                                 EMPLOYEE


                                           DICK'S SPORTING GOODS, INC.




                                           By:____________________________________


                                                 Holly R. Tyson
                                                 Chief Human Resources Officer




Agreement to Arbitrate Claims                                                    Page 4 of 4
Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 23 of 40




                EXHIBIT D
               Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 24 of 40




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                                  -0 State Required Forms                      Print and complete state required new hire forms


                                  -0 Assodate Handbook                         Fill out the Assodate Handbook form


                                  -0 Arbitration Agreement                     Fill out the Arbitration Agreement form

                                                                               Complete the Work Opportunity Tax Credit (WOTC)
                                  -(•) WOTCUnktoE&Y                            Form
Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 25 of 40




                EXHIBIT E
             Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 26 of 40




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                                 undersigned employee ("Employee*) and Dick's Sportno Goods, inc and its affiliates
 -Complete and SviPmft 19
                                 and subsidiaries (together, the "Company or "Employer") under an A/ortrabon Program
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                                 instituted 0> me Company (me "Arbitration Program"), and Oecomes tending on
                                 Employee and Employer 3s provided oelow Under mis Agreement any and all
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                                 disputes daims or controversies arising out of me employment relationsmp Between
                                 the parties or me termination of mat relationship shall Be resolved By final and Binding
                                 arbitration   This mutual Agreement covers any claims that the Company may have
                                 against Employee, or mat Employee may have against me Company or against any of
                                 its officers, directors, employees, or agents The Agreement applies to Employee if
                                 Employee continues to work for Employer after recewng a copy of mis Agreement
                                 unless me Employee "opts our as described below

                                 The daims covered by mis Agreement and subjedto arbitration, indude. but are not
                                 limited to all past present and future daims for wrongful termination; employment
                                 discrimination breach of any contrad or covenant express or implied, breach of any
                                 duty owed to Employee by Company or to Company by Employee personal physical or
                                 emobonai injury, fraud, misrepresentation defamation, and any other tort daims; daims
                                 for back wages or other compensation, penalties    Benefits reimoursement of
                                 expenses, discrimination retaliation or harassment violation of any federal state or
                                 other governmental constitution statute, ordinance or regulation (as ongmatty enaded
                                 and as amended) This Agreement snail not appty to any dispute rt an agreement to
                                 arbitrate such dispute is prohibited by law Nothing in mis Agreement shall prevent
                                 Employee from filing a charge or complaint with or participating in an investigation or
                                 proceeding conduded by the Equal Employment Opportunity Commission fEEOC). the
                                 Nabonai Labor Relations Board fNLRB") or any other federal, state or local agency
                                 charged with the enforcement of any employment or labor laws      This Agreement does       v
                                 not apply to workers' compensation daims or unemployment compensation daims

                                 [_] Arbitration Agreement Acknowledgement


                                  Submit Acknowledgement                                             Back            Next
            Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 27 of 40



charged with the enforcement of any employment or labor laws            This Agreement does
not apply to worKers' compensation claims or unemployment compensation daims                      A


in arbitration, each side in the dispute presents its case, induding evidence, to a neutral
third party called an "arbitrator." rather than to a judge or jury   By entering into this
Agreement therefore the parties are waMng their respective rights to a jury tnal             In
arbitration the parlies are entitled to be represented by their own legal counsel        After
reviewing the evidence and considenng the arguments of the parties, the arbitrator
makes a dedsion (award) to resolve the dispute         The arbitrators decision is final and
binding and the right of either side to appeal is much more limited than in a court
action. Arbitration normally is more informal, speedier, and less expensive than a
lawsuit


Any arbitration under this Agreement shall be conduded before a single arbitrator
seleded by the parties and shall be conducted under the American Arbitration
Association Employment Arbitration Rules & Mediation Procedures ("AAA Rules") then in
effect Employee may obtain a copy of the current applicable AAA Rules by accessing
the AAA website at www adr.org and/or upon a written, signed request to the Company's
Senior vice President of Human Resources attached to an e-mail at
HRSolutions@dcsg com and/or by certified mail to Dick's Sporting Goods. Inc. 345
Court Street Coraopoiis. PA 15108. Attn: Senior Vice President of Human Resources
Employee acknowledges that to the extent the employee seeks to review the AAA Rules,
he/she has that opportunity to do so The arbitration shall take place within 50 miles of
the city in which Employee is or was last employed by the Company. Other than S200 of
any initial filing fee that the Employee must pay to initiate the action with AAA the
Employer will pay all forum costs, including any further filing fees, arbitrator fees, or
administrative fees Except as set forth below, each party shall be responsible for its            v
own attorneys' fees

own attorneys' fees
                                                                                                  A

The arbitrator shall have the authority to order such discovery as the arbitrator considers
necessary to a full and fair exploration of the issues in dispute, consistent with the
expedited nature of arbdrabon     The arbitrator is authonzed to award any remedy or relief
available under applicable law that would have been available to the partes had the
matter been heard in a court


The arbitrator shall have the authority to award attorney's fees and costs if and to the
extent a court would be authorized to make such an award under applicable law The
decision of the arbitrator shall be in wribng and shall provide the reasons for the award
This Agreement is enforceable under and subject to the Federal Arbdrabon Ad. 9 U S C
Sec 1 (the "FAA")


In the event a court determines in a particular case that this Agreement is lacking an
employee protection required by statute court decision, or public policy, to avoid a
finding that the Agreement is unconscionable. Employer shall be entitled at its
discretion to offer Employee the protection the court deems necessary to preserve the
enforceability of this Agreement in that particular case


The Company reserves its right to amend or modify this Agreement at any time provided
that it gives Employee thirty (30) days written nobce of the same Notwithstanding any
provision in this Agreement to the contrary, if the Company provides such nobce. the
Employee may reject such a change by sending written nobce of the rejection to the
Company's Senior Vice President of Human Resources attached to an e-mail and/or by
certified mail to Dick's Sporting Goods. Inc 345 Court Street Coraopoiis, PA 15108. Attn
Senior Vice President of Human Resources within 30 days of the issuance of the                    v
nobce     By rejecting any such change, the Employee will agree that the Arbitrabon
                Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 28 of 40



notice By rejecting any such change, the Employee will agree that the Arbitration
agreement in effect with the Employee immediately before the proposed change, it any,                                A
will apply to thai Employee


The partes agree that there is good and valuable consideration tor the execution of Hie
Agreement including but not limited to. Employee's continued employment with
Employer, the requirement mat me agreement to arbitrate all claims is mutual between
the parties, and other good and valuable consideration.


Except as expressly indicated below, in me event mat any provision of mis Agreement is
held to be void, null or unenforceable, me remaining portions will remain in hill force and
effect


UNDER THE ARBITRATION PROGRAM. THE PARTIES WAIVE THEIR RIGHT TO HAVE
ANY DISPUTE. CLAIM OR CONTROVERSY DECIDED BY A JUDGE OR JURY IN A
COURT,


UNDER THE ARBITRATION PROGRAM. THE PARTIES MAY BRING CLAIMS AGAINST
THE OTHER ONLY IN AN INDIVIDUAL CAPACITY. AND NOT AS A PLAINTIFF OR CLASS
MEMBER IN ANY PURPORTED CLASS. REPRESENTATIVE. OR GROUP ACTION AND
THE PARTIES WAIVE THEIR RIGHT TO PARTICIPATE IN ANY SUCH CLASS,
REPRESENTATIVE OR GROUP ACTION AN ARBITRATOR WILL HAVE NO AUTHORITY
TO HEAR DISPUTES ON A CLASS, REPRESENTATIVE OR GROUP BASIS OR TO
INTERPRET THIS AGREEMENT AS ALLOWING FOR CLASS. REPRESENTATIVE. OR
GROUP ACTIONS

IF EITHER PARTY INITIATES OR JOINS IN A LAWSUIT OR ARBITRATION AGAINST THE                                           v
OTHER PARTY IN VIOLATION OF THIS AGREEMENT AND A COURT OR ARBITRATOR

IFFi-HFR PiR-Y.NmATFS CR                                IN - I       IT'S -RPTRATIOr; AGAINST THE
OTHER PARTY IN VIOLATION OF THIS AGREEMENT AND A COURT OR ARBITRATOR                                                 A
DEEMS THIS AGREEMENT OR ANY WAIVER IN THIS AGREEMENT TO BE
UNENFORCEABLE FOR ANY REASON THEN TO THE EXTENT THE WAIVER IS
INVALIDATED CLAIMS SUBJECT TO THE INVALIDATED WAIVER SHALL NO LONGER
BE SUBJECT TO ARBITRATION BUT SHALL INSTEAD PROCEED IN COURT WITH
ALL REMAINING CLAIMS REMAINING SUBJECT TO ARBITRATION IN THAT EVENT,
THE ARBITRATION CLAIMS SHALL PROCEED FIRST WITH THE COURT CLAIMS
STAYED UNTIL THE RESOLUTION OF THE ARBITRATED CLAIMS


If Employee has any questions about this Agreement. Employee may wish to consult an
attorney about me pros and cons otthis Agreement before making a decision whether to
opt out ofthe arbitration program as discussed below.


EMPLOYEE OPT-OUT RIGHTS EMPLOYEE HAS THIRTY (30) DAYS AFTER
RECEIVING THIS AGREEMENT TO OPT OUT OF ARBITRATION IF EMPLOYEE OPTS
OUT, THEN NEITHER THE COMPANY NOR THE EMPLOYEE WILL BE BOUND BY THE
TERMS OF THIS AGREEMENT TO OPT OUT EMPLOYEE MUST (1) NOTIFY THE
COMPANY IN WRITING THAT EMPLOYEE IS OPTING OUT, (2) SIGN THE WRITING,
AND (3) SEND THE SIGNED WRITTEN NOTTCE TO THE COMPANY'S SENIOR VICE
PRESIDENT OF HUMAN RESOURCES ATTACHED TO AN E-MAIL AT
HRSOlubons@dCSg com AND/OR BY CERTIFIED MAIL TO DICKS SPORTING GOODS,
INC., 345 COURT STREET. CORAOPOUS. PA, 15108 ATTN SENIOR VICE PRESIDENT
OF HUMAN RESOURCES SO THAT THE SENIOR VICE PRESIDENT OF HUMAN
RESOURCES RECEIVES UNO LATER THAN THIRTY 130) DAYS AFTER THE DATE
EMPLOYEE RECEIVED THIS AGREEMENT SUCH WRITTEN NOTICE MAY SIMPLY
STATE 1 WISH TO OPT OUT OF THE ARBITRATION PROGRAM' OR WORDS TO THAT                                                 V
EFFECT         IF NO SUCH NOTICE IS DELIVERED BEFORE THE THIRTY-DAY DEADLINE,
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EFFECT IF NO SUCH NOTICE IS DELIVERED BEFORE THE THIRTY-OAY DEADLINE
THEN THIS AGREEMENT WILL BECOME FULLY EFFECTIVE AND BINDING UPON THE
DATE BELOW IF EMPLOYEE OPTS OUT, THE DECISION TO DO SO WILL NOT
ADVERSELY AFFECT EMPLOYEE'S EMPLOYMENT IN ANY WAY

I ACKNOWLEDGE THAT I HAVE REVIEWED THIS AGREEMENT AND THAT I
UNDERSTAND THAT I HAVE THIRTY (30) DAYS TO OPT OUT OF ARBITRATION IF I DO
NOT WISH THIS AGREEMENT TO APPLY TO ME                             THIS ACKNOWLEDGMENT OF                            V
RECEIPT MAY BE SIGNED ELECTRONICALLY
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Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 29 of 40




                EXHIBIT F
          Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 30 of 40




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                                  This Agreement to Arbitrate Claims (tnis "Agreement") is entered Into oetween the
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                                  undersigned employee ("Employee") and Dick's Sporting Goods. Inc and its affiliates
 -Co"iBtete andSup^im
                                  and subsidiaries together, the "Company" or "Employer) under an Arbitration Program
   Form
                                  instituted by the Company (the "Arbitration Program"), and becomes binding on
 - Couplet? an<3 submit
                                  Employee and Employer as provided below Under tnis Agreement any and all
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                                  disputes, claims or controversies ansing out of the employment relationship between
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   Forms                          the parties or the termination of that relationship shall be resotved by final and binding
                                  arbitration This mutual Agreement covers any claims that the Company may have
                                  against Employee, or that Employee may ha*e against the Company or against any of
                                  its officers, directors, employees or agents    The Agreement applies to Employee if
                                  Employee continues to work for Employer after receiving a copy of this Agreement
                                  unless the Employee "opts out" as described below


                                  The claims covered by this Agreement and suojectto arbitration, include. Out are not
                                  limited to all past present and future claims, for wrongful termination; employment
                                  discnmination. breach of any contract or covenant express or implied breach of any
                                  duty owed to Employee by Company or to Company by Employee; personal physical or
                                  emotional injury fraud misrepresentation, defamation and any other tort claims; daims
                                  for bacK wages or other compensation; penalties, benefits reimbursement of
                                  expenses; discnmination retaliation or harassment violation of any federal state or
                                  other governmental constitution statute, ordinance or regulation (as ongmaliy enacted
                                  and as amended) This Agreement shall not apply to any dispute if an agreement to
                                  arbitrate such dispute is prohibited by taw    Nothing in this Agreement shall prevent
                                  Employee from filing a charge or complaint with, or participating in. an investigation or
                                  proceeding conducted by the Equal Employment Opportunity Commission fEEOC") the
                                  National Labor Relations Board ("NLRB") or any other federal, state or local agency
                                  charged with the enforcement of any employment or labor laws This Agreement does             V
                                  not apply to workers compensation claims or unemployment compensation claims

                                  [v Arbitration Agreement Acknowledgement                Your Last SiQnott 06/09/2017 1 28PM
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               Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 31 of 40




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    Development                  Remember to enroll in your benefits within 31 days' Print appropriate Benefit Resource
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                EXHIBIT G
Department   Location                       ID        Name                               Job Title                     Arbit Signoff Last Start   Pay Status Term Date Arb Signoff DateTime ARB Opt Out? OptOut_Rec'd
Management   Store0247 Newport News VA      0119144   Alvarez,Dennis R                   ASM Hardlines                 Y              1/22/2008   T          5/20/2018      7/28/2016 10:05
Management   Store0165 Portland ME          0253682   Goodliff,Hillary                   ASM Operations                Y             10/31/2011   T           5/1/2019      7/11/2016 14:40
Management   Store0669 Pembroke Pines FL    0517992   Fuentes Hernandez,Lazaro Antonio   ASM Operations                Y             12/24/2018   T          6/12/2019       1/6/2019 12:28
Management   Store0086 Deptford NJ          0305718   Hickey,John                        ASM Operations                Y              3/12/2018   T          8/31/2018       8/1/2016 10:58
Management   Store0086 Deptford NJ          0305718   Hickey,John                        ASM Operations                Y              3/12/2018   T          8/31/2018      3/14/2018 16:05
Management   Store4616 Medford OR           0407872   Jaxx,Heather                       Operations Manager            Y              7/18/2016   T          6/27/2019      7/21/2016 11:14
Management   Store0434 Lyndhurst OH         0319124   Juric,Megan Leigh                  ASM Softlines                 Y              2/24/2014   T          4/14/2019      7/25/2016 17:37 OPTOUT           7/27/2016
Management   Store0466 Lakewood CO          0488234   Kanowitz,Ken S.                    ASM Operations                Y               4/1/2018   T          2/27/2019       4/2/2018 11:57
Front End    Store1120 Orlando FL Mall FL   0276721   Moreira,Lorenzo                    Customer Service Specialist   Y              9/27/2012   T          5/27/2018      6/24/2016 14:34
Management   Store0342 Portland OR          0433076   Sell,Chad                          ASM Softlines                 Y              1/19/2017   T           5/5/2018      1/20/2017 11:59
Management   Store0333 Alpharetta GA        0317992   Whitaker,Hunter R                  ASM Operations                Y              2/10/2014   T          8/26/2019       7/8/2016 16:54
                                                                                                                                                                                                                         Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 33 of 40
Department   Location                      ID        Name             Job Title       Arbit Signoff Last Start    Pay Status Term Date    Arb Signoff DateTime    ARB Opt Out? OptOut_Rec'd
Management   Store0669 Pembroke Pines FL   0419371   Powell,Lindsey   ASM Softlines   Y              10/10/2016   T           5/25/2018        10/17/2016 10:02
Management   Store0669 Pembroke Pines FL   0419371   Powell,Lindsey   ASM Softlines   Y              10/10/2016   T           5/25/2018        10/17/2016 10:03
Management   Store0669 Pembroke Pines FL   0419371   Powell,Lindsey   ASM Softlines   Y              10/10/2016   T           5/25/2018        10/17/2016 10:03
Management   Store0669 Pembroke Pines FL   0419371   Powell,Lindsey   ASM Softlines   Y              10/10/2016   T           5/25/2018        10/17/2016 10:03
Management   Store0669 Pembroke Pines FL   0419371   Powell,Lindsey   ASM Softlines   Y              10/10/2016   T           5/25/2018        10/17/2016 10:04
Management   Store0669 Pembroke Pines FL   0419371   Powell,Lindsey   ASM Softlines   Y              10/10/2016   T           5/25/2018        10/17/2016 10:04
Management   Store0669 Pembroke Pines FL   0419371   Powell,Lindsey   ASM Softlines   Y              10/10/2016   T           5/25/2018        10/17/2016 10:04
                                                                                                                                                                                              Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 34 of 40
Department   Location                  ID      Name          Job Title     Arbit Signoff Last Start   Pay Status Term Date    Arb Signoff DateTime    ARB Opt Out? OptOut_Rec'd
Management Store0277 Williamsport PA   0341432 Everitt,Steven ASM Hardlines Y             10/10/2014 T            9/29/2018          6/22/2016 9:19
                                                                                                                                                                                  Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 35 of 40
Department Location               ID       Name             Job Title                   Arbit Signoff Last Start Pay Status Term Date Arb Signoff DateTime ARB Opt Out? OptOut_Rec'd
Front End   Store4616 Medford OR 0384731 Pysola,Gina Rose Customer Service Specialist   Y            11/6/2015 T          1/24/2019       6/19/2016 12:53
                                                                                                                                                                                       Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 36 of 40
Department   Location              ID      Name          Job Title          Arbit Signoff Last Start   Pay Status Term Date Arb Signoff DateTime ARB Opt Out? OptOut_Rec'd
Management Store1218 Chillicothe OH 0331675 Downar,Joseph ASM Merchandising Y              8/10/2014 T            7/10/2018       7/14/2016 9:05
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Department   Location                    ID       Name                    Job Title    Arbit Signoff Last Start   Pay Status Term Date    Arb Signoff DateTime ARB Opt Out? OptOut_Rec'd
Management Store0295 Buckland Hills CT   0330264 Lissabet,Alexis Nicole   ASM Softlines Y             7/21/2014 T            10/21/2018          7/7/2016 9:06
                                                                                                                                                                                           Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 38 of 40
Department   Location                ID      Name           Job Title       Arbit Signoff Last Start   Pay Status Term Date    Arb Signoff DateTime ARB Opt Out? OptOut_Rec'd
Management Store0114 Glen Allen VA   0304801 Donnelly,Connor ASM Operations Y              9/19/2013 T             4/28/2019          7/5/2016 7:51
                                                                                                                                                                                Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 39 of 40
Department   Location             ID      Name           Job Title    Arbit Signoff Last Start   Pay Status Term Date Arb Signoff DateTime ARB Opt Out? OptOut_Rec'd
Management Store0086 Deptford NJ 0141041 Stuhl,Justine E ASM Softlines Y              4/16/2007 T           8/31/2018      7/27/2016 15:29 OPTOUT           8/9/2016
                                                                                                                                                                       Case 2:20-cv-00651-MJH Document 8-1 Filed 05/12/20 Page 40 of 40
